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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISON



                                              :
In re:                                        :      Chapter 11
                                              :
STUDIO MOVIE GRILL HOLDINGS,                  :      Case No. 20-32633-sgj11
LLC, et al.                                   :
                                              :
                       Debtors.               :
                                              :

                     NOTICE OF APPEARANCE AND REQUEST FOR
                         NOTICES AND SERVICE OF PAPERS

         PLEASE TAKE NOTICE that Jeffrey Kurtzman, Esquire of Kurtzman | Steady, LLC

hereby appears for PREIT Services, LLC, as agent for WG Park Anchor B, L.P. in the above-

captioned Chapter 11 case. The undersigned hereby enters his appearance pursuant to §1109(b)

of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 9010(b) and requests copies

of all notices and pleadings pursuant to Bankruptcy Rules 9010 and 2002. All such notices should

be addressed as follows:

               Jeffrey Kurtzman, Esquire
               KURTZMAN | STEADY, LLC
               401 S. 2nd Street, Suite 200
               Philadelphia, PA 19147
               Telephone: (215) 839-1222
               Email: kurtzman@kurtzmansteady.com

         PLEASE TAKE FURTHER NOTICE that, pursuant to §1109(b) of the Bankruptcy Code,

the foregoing request includes not only notices and papers referred to in the Rules specified above,

but also includes, without limitation, notices of any application, complaint, demand, hearing,

motion, petition, pleading or request, whether formal or informal, written or oral, and whether
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transferred or conveyed by mail, delivery, telephone, telegraph, telex or otherwise filed with regard

to the above case and proceedings therein.

Dated: October 27, 2020                       KURTZMAN | STEADY, LLC


                                              By:       /s/ Jeffrey Kurtzman
                                                    Jeffrey Kurtzman, Esquire
                                                    401 S. 2nd Street, Suite 200
                                                    Philadelphia, PA 19147
                                                    Telephone: (215) 839-1222
                                                    Email: kurtzman@kurtzmansteady.com

                                              Attorneys PREIT Services, LLC, as agent for WG
                                              Park Anchor B, L.P.


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on October 27, 2020, he caused a copy of the
foregoing Notice of Appearance and Request for Service of Papers Pursuant to §1109(b) of the
Bankruptcy Code and Bankruptcy Rules 9010 and 2002 to be served upon the following and all
registered parties via the Court’s CM/ECF electronic filing system.


 Frank Jennings Wright, Esquire                      Office of the U.S. Trustee
 Law Office of Frank J. Wright, PLLC                 1100 Commerce Street
 2323 Ros Avenue, Suite 730                          Room 976
 Dallas, TX 75201                                    Dallas, TX 75202




                                              /s/ Jeffrey Kurtzman
                                              JEFFREY KURTZMAN




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